                       Case 4:14-cr-00250-JM                  Document 277              Filed 10/23/17          Page 1 of 9
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                                                                                                                             FILED
                                                                                                                        U.S. DISTRICT COURT
                       Sheet 1                                                                                      EASTERN DISTRICT ARKANSAS



                                         UNITED STATES DISTRICT Cou~AMESW M                                                                   , CLERK
                                                           Eastern District of Arkansas                     By: __..,..__.,.,,..._-1-'-"...,......,..,,,.,,.,.,.
                                                                           )
                UNITED STATES OF AMERICA                                   )
                                  v.                                       )
                                                                           )
                   ANTHONY LEON WAITS                                             Case Number: 4:14CR00250-06 JM
                                                                           )
                                                                           )      USM Number: 29502-009
                                                                           )
                                                                           )       Willard Proctor, Jr.
                                                                                  Defendant's Attorney
                                                                           )
THE DEFENDANT:
D pleaded guilty to count(s)

D pleaded nolo contendere to count(s)
  which was accepted by the court.
liZI was found guilty on count(s)        Count 1s of Third Superseding Indictment
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
 18 u.s.c. § 1349                   Conspiracy to commit wire fraud, a Class C felony                         8/30/2014                          1s




       The defendant is sentenced as provided in pages 2 through          __7_ _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

liZI Count(s)    Count 1 of 2nd SS Indictment           lilJ is    Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economtc circumstances.




                                                                          James M. Moody, Jr., U.S. District Judge
                                                                         Name and Title of Judge




                                                                         Date
                                                                                10Lz.JL1
                                                                                    { f
                                                                                         z
                       Case 4:14-cr-00250-JM               Document 277            Filed 10/23/17         Page 2 of 9
AO 245B (Rev. 11/16) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                                    2_ of
                                                                                                    Judgment-Page _ _       7
DEFENDANT: ANTHONY LEON WAITS
CASE NUMBER: 4:14CR00250-06 JM

                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
175 MONTHS




     li1 The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in mental health counseling with an emphasis in domestic violence or anger
management, and educational and vocational programs during incarceration. The Court recommends placement in either the
FCI Forrest City, Arkansas, facility or the FCI Texarkana, Texas, facility so as to remain near his family.


     lill The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D   at                                              D p.m.       on

          D as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         D before 2 p.m. on
         D as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                          By - - - - - - - - - - - - - - - - - - - - - -
                                                                                             DEPUTY UNITED STATES MARSHAL
                       Case 4:14-cr-00250-JM             Document 277            Filed 10/23/17          Page 3 of 9
AO 245B (Rev. 11/16) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                      Judgment-Page     3    of
DEFENDANT: ANTHONY LEON WAITS
CASE NUMBER: 4:14CR00250-06 JM
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:     THREE (3) YEARS



                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.    D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                                                 4 _ _ of _ _ _7_ __
                                                                                               Judgment-Page _ _ _
DEFENDANT: ANTHONY LEON WAITS
CASE NUMBER: 4:14CR00250-06 JM

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. lfnotifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                                                                                                                 ------------
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3B - Supervised Release
                                                                                            Judgment-Page _5__ of          7
DEFENDANT: ANTHONY LEON WAITS
CASE NUMBER: 4:14CR00250-06 JM

                                     ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate in a domestic violence counseling program under the guidance and supervision of the
 probation office. The defendant will pay for the cost of treatment at the rate of $10 per session, with the total cost not to
 exceed $40 per month, based on ability to pay as determined by the probation office. If the defendant is financially unable
 to pay for the cost of treatment, the co-pay requirement will be waived.

 15) The defendant must provide the probation officer with access to any requested financial information (including
 unexpected financial gains) and authorize the release of any financial information. The probation office may share financial
 information with the U.S. Attorney's Office.

 16) The defendant may not incur new credit charges or open additional lines of credit without the approval of the probation
 officer unless all criminal penalties have been satisfied.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment - Page     6   of        7
 DEFENDANT: ANTHONY LEON WAITS
 CASE NUMBER: 4:14CR00250-06 JM
                                               CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                 JVTA Assessment*                  Fine                        Restitution
 TOTALS             $ 100.00                    $ 0.00                            $ 0.00                      $ 3,316,280.85



 D The determination of restitution is deferred until - - - - • An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.

  Name of Payee                                                               Total Loss**        Restitution Ordered Priority or Percentage
      USDNFNS (Lockbox}                                                                                $3,316,280.85




TOTALS                                                                  $                   0.00 $_ _ _
                                                                                                      3,~3_16~,2_8_0_.8_5



D       Restitution amount ordered pursuant to plea agreement $

D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

!ti     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        ~ the interest requirement is waived for the           D fine       !ti restitution.
        D the interest requirement for the         D fine       D   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                        Case 4:14-cr-00250-JM                  Document 277             Filed 10/23/17            Page 7 of 9
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments
                                                                                                             Judgment - Page   _7__ of                7
 DEFENDANT: ANTHONY LEON WAITS
 CASE NUMBER: 4:14CR00250-06 JM

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~    Lumpsumpaymentof$             3,316,380.85          due immediately, balance due

            D     not later than _ _ _ _ _ _ _ _ _ _ , or
            D     in accordance with D C, D D,    D E,or                       D Fbelow; or
B      D Payment to begin immediately (may be combined with                 DC,          D D, or      D F below); or

 C     D    Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

D      D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      ~    Special instructions regarding the payment of criminal monetary penalties:

            Restitution is due immediately, and any unpaid balance will be payable during incarceration. During incarceration,
            the defendant will pay 50 percent per month of all funds that are available to him. During residential reentry
            placement, payments will be 10 percent of the defendant's gross monthly income. Beginning the first month of
            supervised release, payments will be 10 percent per month of the defendant's monthly gross income. The interest
            requirement is waived.
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 I!!   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.
        Restitution will be joint and several with any other person who has been or will be convicted on an offense for which
        restitution to the same victim on the same loss is ordered.



 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 ~     The defendant shall forfeit the defendant's interest in the following property to the United States:
        See attached ORDER OF FORFEITURE entered on 5/4/2017.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest1 (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) NTA assessment, (8) pemilties, and (9) costs, mcluding cost of prosecution and court costs.
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            Case 4:14-cr-00250-JM Document 216 Filed 05/04/17 Page 1of2



                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                   No. 4:14CR00250-6 JM

ANTHONY LEON WAITS

                                 ORDER OF FORFEITURE

       IT IS HEREBY ORDERED THAT:

       1.      As the result of the jury's determination that Anthony Leon Waits ("Defendant")

conspired to commit wire fraud, Defendant shall forfeit to the United States, under 18 U.S.C. §

982(a)(3)(F), a personal money judgment in the amount of $3,316,280.85, which represents the

gross receipts Defendant and his co-conspirators received from their participation in the Feeding

Programs.     See Government's Trial Exhibits 58C, 73 through 77; Dorothy Harper Plea

Agreement, Dkt. 190, at 7.

       2.      Upon the entry of this Order, the United States is authorized to conduct any

discovery proper in identifying, locating, or disposing of this money judgment. Fed. R. Crim. P.

32.2(b)(3).

       3.      This Order of Forfeiture shall become final as to Defendant at the time of

sentencing and shall be made part of the sentence and included in the judgment. Fed. R. Crim.

P. 32.2(b)(4)(A).

       4.      No ancillary proceeding is required because this order of forfeiture only consists

of a money judgment. Fed. R. Crim. P. 32.2(c)(l).

       5.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e). The United States is authorized to execute the money

judgment against any property the Defendant owns. Further the United States may, at any time,
      Case 4:14-cr-00250-JM          Document 277        Filed 10/23/17        Page 9 of 9
         Case 4:14-cr-00250-JM Document 216 Filed 05/04/17 Page 2 of 2



move to amend this Order of Forfeiture to substitute property having a value not to exceed

$3,316,280.85 to satisfy this money judgment in whole or in part. See Fed. R. Crim. P. 32.2(e).

       SO ORDERED this 4t1t day of May 2017.



                                                JSb-WJ~y Jr.
                                                United States District Judge
